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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) 2:11-CR-00423-GGH
                                   )
12             Plaintiff,          ) Order of Dismissal
                                   )
13        v.                       )
                                   )
14   ALEKSANDR V. VILCHITSA,       ) DATE: January 30, 2012
                                   ) TIME: 9:00 a.m.
15             Defendant.          ) JUDGE: Hon. Gregory G. Hollows
     ______________________________)
16
17        It is hereby Ordered that the plaintiff United States of
18   America’s Motion to Dismiss the above captioned matter without
19   prejudice against defendant Aleksandr V. VILCHITSA is GRANTED.
20   Counts Seven through Twelve of the Information are DISMISSED
21   WITHOUT PREJUDICE and the March 19, 2012 jury trial is VACATED.
22        However, it is unclear from the government’s motion whether
23   defendant Vilchitsa has any objections to a dismissal without
24   prejudice.    Although the undersigned has granted the government’s
25   motion by this order, the undersigned will reconsider it if
26   \\\\\
27   \\\\\
28   \\\\\
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1    objections by Vilchitsa are made to a “without prejudice”
2    dismissal within seven days of the filed date of this order.
3         IT IS SO ORDERED.
4
5    Dated: January 30, 2012
6                                     /s/ Gregory G. Hollows
                                      UNITED STATES MAGISTRATE JUDGE
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